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1    UNITED STATES DISTRICT COURT
     SOUTHERN DISTRICT OF NEW YORK
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3    BARRY HONIG,

4                      Plaintiff,

5                 v.                              16 CV 7477 (PGG)

6    TERI BUHL,

7                      Defendant.

8    ------------------------------x
                                                  New York, N.Y.
9                                                 February 1, 2017
                                                  11:45 a.m.
10
     Before:
11
                            HON. PAUL G. GARDEPHE,
12
                                                  District Judge
13
                                    APPEARANCES
14
     HARDER MIRELL & ABRAMS, LLP
15        Attorneys for Plaintiff
     BY: CHARLES J. HARDER
16               -and-
     DEALY SILBERSTEIN & BRAVERMAN, LLP
17       Attorneys for Plaintiff
     BY: AMANDA E. MAGUIRE
18
     HOLLAND & KNIGHT
19        Attorneys for Defendant
     BY: CHRISTINE WALZ
20          SEAN C. SHEELY

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1               THE DEPUTY CLERK:    Call the case of Honig v. Buhl, et

2    al.   Is the plaintiff ready?

3               MR. HARDER:    Yes, your Honor.   Charles Harder for the

4    plaintiff Barry Honig.

5               MS. MAGUIRE:    Amanda McGuire, we are local counsel for

6    plaintiff Barry Honig.

7               MS. WALZ:    Christine Walz here on behalf of Teri Buhl.

8               MR. SHEELY:    Sean Sheely, Holland & Knight for Teri

9    Buhl.

10              THE COURT:    Here is a case where the plaintiff, who is

11   a private investor, is alleging he was libeled by Teri Buhl who

12   I understand to be an investigative journalist.       And the false

13   statements, the alleged false statements were made in an

14   article dated May 26, 2016, in which Ms. Buhl made certain

15   statements about Mr. Honig and the possibility of an SEC

16   subpoena having been served on an entity that he is allegedly

17   associated with, and there is a number of statements related to

18   that.

19              So, I will tell you that my impressions from what I've

20   read so far are that the case should be settled.      And so, the

21   question is why.   Why are we here, why is it that the parties

22   have not been able to work out some type of agreement.

23              So, Mr. Harder, from your perspective, why hasn't the

24   matter settled?

25              MR. HARDER:    Your Honor, there have been some initial


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1    settlement discussions, and I think that we just need to have a

2    few additional settlement discussions.      And I'm here in New

3    York, and I was planning to speak to defense counsel about that

4    after this court appearance.      We're working on it.

5               THE COURT:    Who wants to speak on behalf of the

6    defendant?

7               MS. WALZ:    Your Honor, I'd like to speak on behalf of

8    Ms. Buhl.    Defendant is confident in the journalism here, and

9    is not currently willing to -- we're certainly willing to

10   discuss settlement, but is not willing to retract any of the

11   statements that have been made, and I think that may prove to

12   be a barrier to settlement here.

13              THE COURT:    Let me give you my impression.   My

14   impression is this litigation is likely to be complex, lengthy,

15   and expensive.   And so that's why I question whether it's

16   rational to spend the next two or three years litigating this

17   case.   I really question whether it's rational.

18              Now, there is a proposal by the defendant to file a

19   motion to dismiss, and I will say that as to certain of the

20   portions of the article that are the basis for the libel suit,

21   it's not entirely clear to me how some of these statements are

22   actionable.

23              Let me ask an initial question before I get into the

24   specific statements.      And that is, is the defendant going to be

25   taking the position that the plaintiff is a limited purpose


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1    public figure?

2               MS. WALZ:    Yes.

3               THE COURT:    I assume that in taking that position, you

4    believe you have evidence that he's injected himself in some

5    fashion into the public vortex such that he would qualify as a

6    limited purpose public figure?

7               MS. WALZ:    Yes, your Honor, within this sphere of

8    small cap finance, we believe he is a limited purpose public

9    figure.

10              THE COURT:    All right.   Is plaintiff going to dispute

11   that?

12              MR. HARDER:    Yes, your Honor.   We believe the

13   plaintiff is a private figure.

14              THE COURT:    Okay.   Well, that's another significant

15   legal issue.

16              With respect to the particular statements, one of the

17   cited statements that's alleged to be defamatory is, and I

18   quote "Plaintiff teemed up with his favorite investor,

19   investing partner Michael Brauser."

20              Mr. Harder, what is your theory on how that is

21   defamatory?

22              MR. HARDER:    That's a good question, your Honor.    We

23   believe the evidence may show that Mr. Brauser has a negative

24   public impression, and that by associating my client with

25   somebody like that, that it is defamatory of my client because


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1    it's false.    And it would cause people within the investment

2    community to avoid, shun, stay away from my client and cost him

3    economic opportunities.

4               THE COURT:    Well, that frankly sounds like speculation

5    now.    There is going to be a motion to dismiss filed.    You're

6    going to having to demonstrate there are facts pled in the

7    complaint from which I could find that there is a defamatory

8    aspect to being associated with Michael Brauser.

9               So, there is another statement, and I quote, "Market

10   participants sit on the sideline to see if the SEC can get the

11   goods to finally charge Barry Honig."

12              What is your theory on how that's defamatory?

13              MR. HARDER:    Your Honor, if market participants are

14   sitting on the sideline, that means they are not making

15   investments, and that means that the stock price is being

16   depressed, and that's costing Mr. Honig money.      If other people

17   read this and decide that they're going to sit on the sidelines

18   as well, based upon this theory that is false, it is a false

19   predicate from the outset, that the SEC has anything -- any

20   investigation taking place with Mr. Honig, which it doesn't.

21   So --

22              THE COURT:    So when you say "market participants,"

23   could you tell me who the market participants are?     Are these

24   potential investors in something that your client is involved?

25   I don't understand the reference to market participants.     See,


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1    I read "market participants" to be simply market participants.

2    But I gather what you are saying is they're potential investors

3    in one of Mr. Honig's businesses.

4               Is that your theory?

5               MR. HARDER:    Well, your Honor, Mr. Honig is an

6    investor himself.   So he invests in companies.

7               THE COURT:    That's one reason why I don't understand

8    the defamatory import.      Because I thought your position is he

9    is a passive investor, he's actually not operating a business

10   himself.    So I don't understand who the market participants are

11   who are sitting on the sidelines.

12              I understand this isn't your article, but it is your

13   theory that this is defamatory.      And I'm asking how is it

14   defamatory?

15              MR. HARDER:    Yes, your Honor.   Mr. Honig is a passive

16   investor in stocks.

17              THE COURT:    Right.

18              MR. HARDER:   One of these stocks is MGT, and he has

19   others as well.   If there is a false impression in the

20   marketplace that the SEC is gunning for Barry Honig, and that

21   market participants, people potentially also investing in

22   companies, are avoiding Barry Honig companies that he's

23   invested in, that causes a depression of his investments.       It's

24   not just his investments, it's other people's as well.

25              But as to the defamation it's causing -- this is


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1    something that causes the marketplace to shun Mr. Honig, to

2    avoid him, to not get involved with him, and to not get

3    involved with companies that he's involved with.

4               THE COURT:    I can certainly understand that if these

5    were Mr. Honig's companies, but the way you've presented it is

6    he's just an investor.      He doesn't operate a company.   He makes

7    investments as he deems appropriate.       Is the idea that he

8    controls some of these companies?

9               MR. HARDER:    Well, Ms. Buhl is saying that he does.

10   He does not.    Which is another -- but I believe that this

11   sentence is tied in to some of those other sentences as well.

12              Your Honor, if I may.     If the public that invests

13   believes that Mr. Honig is controlling these companies and that

14   the SEC is investigating him and trying to put him in jail or

15   punish him in some fashion, that depresses the market for that

16   stock.

17              THE COURT:    Well, let me ask you.   Let's get to the

18   bottom of it.    Is there an SEC subpoena that was served on some

19   company that Mr. Honig had an interest in?

20              MR. HARDER:    There is an SEC subpoena.   We don't have

21   a copy of it.    We have discovery out to the defense to provide

22   it to us.    We do have information --

23              THE COURT:    I'm not sure they have it, actually.     But

24   I'll get to that in a moment.

25              MR. HARDER:    Okay.   We do have information, your


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1    Honor, that almost every single question has absolutely nothing

2    to do with Barry Honig.      However --

3               THE COURT:    When you say "question," what are you

4    talking about?

5               MR. HARDER:    Requests for production of documents.

6               THE COURT:    That's not a question.   Subpoenas,

7    generally speaking, they either seek testimony from somebody or

8    they seek documents.      They don't contain questions.   They say

9    give me all your documents that concern MGT.       And the recipient

10   is obligated to do that.

11              So that's another thing I don't understand here, is --

12   there are references to what kinds of questions Mr. Honig has

13   been asked.    I don't know what that has to do with because it's

14   in the context of a subpoena, what I understand to be a

15   subpoena for documents.

16              But are you telling me you don't have the subpoena and

17   you don't know what it says?      You don't know what it sought?

18              MR. HARDER:    We don't have the subpoena.   We have

19   spoken to people who have seen the subpoena, and have told us

20   that these statements are completely false, as they have

21   observed the subpoena.

22              THE COURT:    There's another statement, "Barry Honig is

23   pulling out the big legal guns, apparently worried about what's

24   inside that SEC subpoena."      Isn't that opinion?

25              MR. HARDER:    Well, it's a factual statement that he's


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1    worried about the subpoena --

2               THE COURT:    What about "apparently worried."   Doesn't

3    that suggest to you that may not be a statement of fact?       When

4    somebody says "apparently," doesn't that sound like almost

5    speculation at that point?

6               MR. HARDER:    Well, your Honor, it sounds like a

7    factual statement that the writer doesn't know if it's true or

8    not.   Which I think if my client is required to prove actual

9    malice, which I don't believe he is, then we would drill down

10   on what is it that give Teri Buhl the appearance that he's

11   worried about the SEC, because he's not worried about the SEC.

12   Did Ms. Buhl have a factual predicate to even make a statement

13   like that?

14              THE COURT:    All right.   Let me speak with Ms. Walz for

15   just a second.   So do you have the subpoena?

16              MS. WALZ:    I do have the subpoena.

17              THE COURT:    Great.   So you can tell us what it

18   actually is about.      So who is the subpoena directed to?

19              MS. WALZ:    The subpoena is directed to MGT Capital.

20              THE COURT:    Okay.

21              MS. WALZ:    Which is the company that Barry Honig has

22   invested in.    It is a subpoena for documents.     It's our

23   position that the Court can take judicial notice of the

24   subpoena when it is attached to the motion to dismiss or that

25   the Court can look at it, because the subpoena is referenced in


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1    the complaint.   And so we're not hiding ball.       We will make the

2    subpoena available.      It seeks documents pertaining to Mr. Honig

3    and a number of individuals that he routinely invests in and

4    companies that he has invested in.

5               THE COURT:    Now, there are a number of statements that

6    have been challenged by the plaintiff that relate to the

7    subpoena.    There's one, it says "90 percent of the regulators'

8    questions are about Honig."

9               What's that about?      Can you give me any insight into

10   what that's about?

11              MS. WALZ:    That was a sourced quote that was later --

12              THE COURT:    Somebody told your client that?

13              MS. WALZ:    Yes.    And it was later altered in

14   Ms. Buhl's reporting to say that "a large portion of the

15   regulators' questions."        So I think non-lawyers referring to a

16   subpoena for documents are looking at it and saying, well, this

17   is about Mr. Honig, not recognizing that they're not questions,

18   they're requests for documents.

19              THE COURT:    Now she also apparently repeatedly refers

20   to Mr. Honig as the target of an SEC subpoena or an SEC

21   investigation.   Right?

22              MS. WALZ:    She does, and although that was again later

23   changed to "subject."      But "subject" or "target," that gist or

24   sting means the same I think.

25              THE COURT:    What was the goal, if you can tell me, in


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1    changing the language from "target" to "subject"?

2               MS. WALZ:    I think when Mr. Honig contacted her or

3    Mr. Honig's lawyers contacted her, there was particular concern

4    with the term "target."      She said, well, subject.

5               THE COURT:    What's interesting to me is that for

6    purposes of the Department of Justice, those are terms of art.

7    And they have very defined meanings.      That may not be true for

8    the SEC.    I suspect it's not.

9               But calling somebody a target for purposes of the U.S.

10   attorney's office investigation has a very specific meaning.

11   Calling somebody a subject has a different meaning.     I don't

12   know whether your client, whether that had anything to do with

13   what was going on here.

14              MS. WALZ:    I think when that issue was raised she said

15   "subject" is most accurate.      Because, again, "target" may

16   have -- may be a term of art.

17              THE COURT:    I'm telling you it is a term of art for

18   purposes of the Department of Justice.      It may not be a term of

19   art at the SEC.   It is definitely a term of art at the Justice

20   Department, and what it means, generally speaking, is that the

21   prosecutor has sufficient information at that time to charge

22   the person.    That's what target means.    And then subject means

23   that your activities are within the scope of the U.S. attorney

24   and grand jury's investigation.

25              So, those terms have specific meaning in the context


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1    of an investigation being conducted by the U.S. attorney's

2    office.    As I said, I'm not that familiar with the SEC, and it

3    may be that these terms are not used by the SEC.     But they have

4    a very specific meaning with the Justice Department.

5               MS. WALZ:    But, your Honor, if I may, I think that

6    here the gist or sting of "subject" or "target," given the

7    audience of this blog, is going to be the same.

8               THE COURT:    I guess if that's true, it raises the

9    obvious question why your client decided to change it, if it

10   has no meaning.   So it kind of undercuts -- you just told me it

11   said "target," and there was a complaint by the lawyer and it

12   was changed to "subject."      So that would suggest that your

13   client, at least, thought there was a difference between

14   "target" and "subject" or she wouldn't have changed it.

15              MS. WALZ:    I think she wanted to be accurate in her

16   reporting.    But I think for purposes of the legal analysis

17   related to it, that's a different assessment than her

18   journalism.

19              THE COURT:    There is also a statement, and I quote

20   "Barry uses other people to run a company he is secretly

21   controlling and pays stock pumpers to tout the company without

22   disclosure."

23              That sounds like a statement of fact.    Do you

24   disagree?

25              MS. WALZ:    No, I think there are portions of that that


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1    are disclosed facts, and then it's her characterization based

2    on those disclosed facts.

3               THE COURT:    Specifically, when she says "He pays stock

4    pumpers to tout the company without disclosure," that is

5    susceptible to being proven true or false, right?

6               MS. WALZ:    Absolutely.

7               THE COURT:    Also, there is a statement that Mr. Honig

8    is involved in "tons of questionable pump-and-dump deals."

9               Accepting that "tons" is slang or a hyperbole or

10   whatever, whether or not Mr. Honig is involved in lots of

11   questionable pump-and-dump deals, presumably that would be

12   subject to being proven true or false.

13              MS. WALZ:    Yes, I agree.   The tons portion is what is

14   the opinion.    The disclosed facts there are going to be in the

15   fact that he is involved in questionable pump-and-dump deals

16   are based on judicial records that are covered by the fair

17   report privilege.

18              THE COURT:    When you say judicial records, are these

19   complaints that have been filed in cases against Mr. Honig?

20              MS. WALZ:    Yes.

21              THE COURT:    What's the nature of the court records?

22              MS. WALZ:    So there are complaints that allege this,

23   and there is a plea agreement in a case that also alleges it.

24              THE COURT:    Did that involve Mr. Honig?

25              MS. WALZ:    Yes.   I mean -- can you repeat your


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1    question?

2               THE COURT:    Yes.   You said there was a plea agreement

3    and my question was did that involve Mr. Honig.

4               MS. WALZ:    Did the --

5               THE COURT:    Plea agreement involve Mr. Honig.

6               MS. WALZ:    The plea agreement did not, but it involved

7    someone who was involved with Mr. Honig who took a plea deal,

8    and in his plea agreement referred to Mr. Honig and his

9    activities with Mr. Honig.

10              THE COURT:    Let me say that today's conference just

11   confirms my view that this case is replete with legal and

12   factual issues that will occupy all of us for several years.

13   And I really question whether that's a good use of everyone's

14   time.

15              The issue, the primary issue that brings us here today

16   is the request to file a motion to dismiss.       I would urge the

17   parties to talk between themselves about some of these

18   statements and make sure that there is both a good-faith basis

19   for alleging that they constitute defamation, and also, to the

20   extent that the defendant wants to move against them, there is

21   a good-faith basis for doing so.

22              With that understanding, Ms. Walz, how long do you

23   want to prepare your motion to dismiss?

24              MS. WALZ:    Could we have until next Friday, your

25   Honor?


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1               THE COURT:    Sure.   So next Friday is February 10.    And

2    how long do you want to put in your opposition, Mr. Harder?

3               MR. HARDER:    Two weeks, your Honor.

4               THE COURT:    Okay.   So that would bring us to

5    February 24.    And a week to reply Ms. Walz.

6               MS. WALZ:    Yes.

7               THE COURT:    So that would bring us to March 3.

8               There has been an application to stay discovery while

9    the motion to dismiss is pending.       And I do have a question

10   mark in my mind as to whether a number of the statements at

11   issue will survive a motion to dismiss.       So my inclination is

12   to stay discovery until the motion to dismiss is resolved,

13   because it would be wasteful to have discovery proceed as to

14   statements that I've later determined are not actionable.

15              But, before doing that, Mr. Harder or Ms. Walz, I'm

16   happy to hear people's views on whether discovery should be

17   stayed.

18              MR. HARDER:    Thank you, your Honor.   We would ask that

19   discovery not be stayed.       There are statements that the Court

20   has discussed today that are statements of fact which we

21   believe are defamatory, particularly if and when we prove them

22   to be false, and the defense has in possession information that

23   bears upon these statements.       The subpoena itself, which we do

24   not have, which they do have, and other pieces of information

25   that they've talked about today, such as a plea agreement,


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1    complaints and things of that nature.

2               And while we're going down the road of settlement

3    discussions as well, your Honor, it would help us on the

4    plaintiff's side to learn about what information that Ms. Buhl

5    has which she believes supports her statements, so that we can

6    have a full discussion of settlement and also be able to

7    prepare for the case.

8               And with the proposed scheduling order timeline,

9    there's not going to be a great deal of time to undertake

10   discovery.    We're not asking for massive amounts of information

11   to be provided to us, but just things that are relevant to the

12   statements that are defamatory and Ms. Buhl is relying upon in

13   her defense.

14              THE COURT:    Let me ask you this, Ms. Walz.   How would

15   you feel about providing Mr. Harder with, first of all, the SEC

16   subpoena, but also the public record information that you

17   intend to rely on?      That might be conducive to having a

18   rational discussion about the future of the case.     I suspect

19   you'll be attaching most of these things as exhibits to your

20   papers anyway, so I don't think you're giving anything up.       But

21   what do you say?

22              MS. WALZ:    In terms of the subpoena, we certainly

23   planned on attaching that.      And the other documents, the other

24   public documents would be referenced and attached in our motion

25   to dismiss.    The document in terms of the plea agreement was


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1    actually linked to from the journalism, from the blog, so I

2    believe that that is publicly available.     So we're not hiding

3    the ball in any way.     So I think, again, we did plan on

4    attaching the subpoena to the motion to dismiss.

5               THE COURT:   I'm going to stay discovery, because if

6    discovery were to proceed, it would clearly go beyond the SEC

7    subpoena and the public record information.     And again, because

8    I'm uncertain whether a number of these alleged defamatory

9    statements are going to survive, I'm reluctant to have the

10   parties spend a lot of time on discovery on it.

11              But what I would urge, given Ms. Walz's confirmation

12   that the subpoena and the public record information will be

13   attached to her papers that are going to be filed in a week and

14   a half anyway, I would urge you, Ms. Walz, to give that stuff

15   to Mr. Harder now so that you can start having a conversation

16   about whether it makes any sense to pursue litigation on all or

17   at least some of these claims.     I'm not convinced it does.   And

18   I do believe that the sooner the parties begin an exchange of

19   the sort that I've suggested, the sooner we can figure out

20   whether there is any possibility of an amicable resolution.

21              So I would urge you to do that.   I'm not ordering you

22   to do that.    As I said, in 10 days' time you'll file your

23   motion and it will have presumably these materials attached

24   anyway.    I'd urge to you do it now, and I'd urge you to have

25   conversations with Mr. Harder now.     It is entirely up to you


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1    whether you do or you don't.

2               For present purposes, I will enter a scheduling order

3    that provides for briefing on the schedule that we've agreed

4    to.   It will provide that discovery will be stayed pending

5    resolution of the proposed motion to dismiss.

6               Are there other issues the parties want to raise

7    today?

8               MR. HARDER:    Your Honor, if there is going to be a

9    temporary stay of discovery, then we would ask that the

10   discovery cutoff be extended so that we once the discovery stay

11   is lifted, we would have an appropriate amount of time to be

12   able to complete discovery.

13              THE COURT:    I'm not going to enter a case management

14   plan.

15              MR. HARDER:    Okay, that's fine.

16              THE COURT:    Anything else?

17              MS. WALZ:    No, your Honor.

18              THE COURT:    All right.

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